
20 Cal.2d 82 (1942)
WALTER STRACKE, Petitioner,
v.
AGNES S. FARQUAR, as City Clerk, etc., Respondent.
S. F. No. 16737. 
Supreme Court of California. In Bank.  
Mar. 31, 1942.
 G. H. Van Harvey for Petitioner.
 L. G. Hitchcock for Respondent.
 DeMeo &amp; DeMeo and Clarendon W. Anderson, as Amici Curiae, on behalf of Respondent.
 THE COURT.
 [1] The petition for a peremptory writ of mandamus to compel the respondent, as City Clerk of Santa Rosa, to omit the names of seven persons as candidates for the office of councilman from the ballot to be used at the municipal election to be held April 7, was denied in the exercise of the discretion of the court for the reason that it appeared from the answer and stipulation of the parties that the ballot already had been printed and distributed to certain voters. Such denial should not be taken or understood as an adjudication in any way of the questions of law presented by the petition. *83
